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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

UNITED STATES SECURITIES AND EXCHANGE )
COMMISSION,                                        )
                                                   )
              Plaintiff,                           )
                                                   )
v.                                                 )           Civil Action No.
                                                   )           3:15-cv-675-JBA
                                                   )
IFTIKAR AHMED                                      )
                                                   )
              Defendant, and                       )
and                                                )
                                                   )
IFTIKAR ALI AHMED SOLE PROP; I-CUBED               )
DOMAINS, LLC; SHALINI AHMED; SHALINI               )
AHMED 2014 GRANTOR RETAINED                        )
ANNUNITY TRUST; DIYA HOLDINGS LLC;                 )
DIYA REAL HOLDINGS, LLC; I.I. 1, a minor child, )
by and through his next friends IFTIKAR and        )
SHALINI AHMED, his parents; I.I. 2, a minor child, )
by and through his next friends, IFTIKAR and       )
SHALINI AHMED, his parents; I.I. 3, a minor child, )
by and through his next friends, IFTIKAR and       )
SHALINI AHMED, his parents                         )
                                                   )
              Relief Defendants.                   )
                                                   )

 STATEMENT OF RECEIVER’S POSITION CONCERNING RELIEF DEFENDANTS’
EMERGENCY MOTION TO MODIFY ASSET FREEZE ORDER TO RELEASE FUNDS
      TO PAY MURTHA CULLINA’S FEES AND DISBURSEMENTS SINCE
         APPOINTMENT OF RECEIVER, OR IN THE ALTERNATIVE,
            TO WITHDRAW THE APPEARANCE OF COUNSEL

       Jed Horwitt, Esq., in his capacity as Court-appointed receiver of the Receivership Estate 1

(the “Receiver”), through his undersigned counsel, respectfully provides this statement (the

“Statement”) articulating his position in response to the Relief Defendants’ Emergency Motion to

Modify Asset Freeze Order to Release Funds to Pay Murtha Cullina’s Fees and Disbursements


1
 Unless expressly defined otherwise in this report, the definitions of terms set forth in the Report of
Receiver [Doc. No. 1135] (the “Report”) are incorporated herein by reference.

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Since Appointment of Receiver, or in the Alternative, to Withdraw the Appearance of Counsel

[Doc. No. 1171] (“the Motion”), filed on May 24, 2019. In support thereof, the Receiver

respectfully represents as follows.

                                             Introduction

        The Receiver takes no position with respect to the release of $350,000.00 from the

Receivership Estate to satisfy the Relief Defendants’ obligations to Murtha Cullina LLP (“MC”)

for services rendered between December 20, 2018, and April 30, 2019, in the amount of

$168,857.08, and a further $181,142.92 as a retainer for future payments of MC’s fees and

expenses. The Receiver also takes no position with respect to MC’s request, in the alternative, to

withdraw from the case. The Receiver submits this Statement for this Court’s consideration to

correct certain representations and explain the Receiver’s reasoning for taking no position with

respect to the requested release of funds.

   I.      The Motion Mischaracterizes the Receiver’s Report as to Residual Assets

        Even though the Receiver has already, in several filings with this Court, corrected various

parties’ mischaracterization of this very point, the Receiver feels compelled, once again, to correct

the mischaracterization of the Report now made by MC concerning the existence of Receivership

Assets that are not needed to secure the Required Amount (“Residual Assets”). Contrary to MC’s

statements and as the Report makes clear, the ultimate extent of Residual Assets, if any, presently

remains unknown in large part because the exact dollar amount of the Judgment — which

continues to accrue various interest, gains, and other items — cannot be fixed until assets securing

it have been actually liquidated and deposited into the CRIS account, and because the amount to

be realized from such assets will also not be determined until they are actually liquidated.

Accordingly, until the liquidation process is complete and the Required Amount is fully secured

by deposits into the CRIS account, there are no Receivership Assets that, in the Receiver’s view,


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are truly excess. MC’s characterization of the Receiver’s conclusion – that there has been a

definitive determination that the Receivership Estate includes $18.6 million in Residual Assets –

is inaccurate.

    II.       The Relief Sought in the Motion is Materially Different than the Relief Sought by
              Harris, St. Laurent & Chaudhry LLP

           While the Receiver objected to the request by Harris, St. Laurent & Chaudhry LLP

(“HSC”) for the Receivership Estate to release funds to pay more than $1.8 million in past-due

fees and expenses, (see Motion of Harris, St. Laurent & Chaudhry LLP to Withdraw from

Representation of Relief Defendants, and for Payment of Outstanding Attorneys’ Fees, and, in the

Alternative, for Relief from the Stay of Litigation as to the Relief Defendants [Doc. No. 1152]),

the Receiver is taking no position with respect to MC’s request for the release of funds from the

Freeze Order so a portion of its outstanding fees and a retainer may be paid. From the Receiver’s

perspective, there is a meaningful distinction between the two situations. MC currently represents

and would, if provided with the fees requested and retainer, continue to represent the Relief

Defendants in connection with the continued administration of the Receivership Estate by the

Receiver. In contrast, HSC effectively does not currently represent the Relief Defendants and is

not proposing to represent them going forward, and seeks only to have a past due liability owed

by the Relief Defendants paid by the Estate. Additionally, there is an appreciable difference in the

amounts sought – $350,000 versus $1.8 million. 2

    III.      The Extension Request by the Relief Defendants to Respond to the Receiver’s
              Report is Now Moot

           The Relief Defendants having filed their opposition to the Receiver’s Report on June 3,


2
  The Motion proposes to source the $350,000 from Fidelity account x7540. The Receiver’s Plan of
Liquidation proposes to liquidate Fidelity account x7540 to secure the Required Amount. As such, the
Receiver must alert the Court and the parties that, to the extent $350,000 now held in Fidelity account
x7540 is released from the Asset Freeze to fund the requested payments to MC, the Receiver may need to
revise the Plan of Liquidation.

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2019 [Doc. No. 1182], their request for an extension of time made in the Motion is now moot.

Accordingly, the Receiver does not respond to it.

       Upon request, the Receiver or his counsel will attend any hearings scheduled by the Court

on this matter and provide any relevant information and assistance that the Court may request in

addressing the Motion.

Dated June 14, 2019, at Bridgeport, Connecticut.


                                                    Respectfully submitted,
                                                    JED HORWITT, ESQ., RECEIVER


                                                     /s/ Christopher H. Blau
                                                    Stephen M. Kindseth (ct14640)
                                                    Christopher H. Blau (ct30120)
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                                                    skindseth@zeislaw.com
                                                    Counsel to the Receiver




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 14, 2019, a copy of the foregoing Statement was filed

electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing

will be sent by e-mail to all parties by operation of the court’s electronic filing system or by mail

to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties

may access this filing through the Court’s CM/ECF System. Furthermore, a copy of the foregoing

was sent via email to the Defendant, Iftikar A. Ahmed, at iftyahmed@icloud.com.



                                                       /s/ Christopher H. Blau
                                                      Christopher H. Blau (ct30120)




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